Case 1:17-md-02800-TWT Document 1090-1 Filed 05/07/20 Page 1 of 3




   EXHIBIT 1
       Case 1:17-md-02800-TWT Document 1090-1 Filed 05/07/20 Page 2 of 3
               Case: 20-10249 Date Filed: 05/07/2020 Page: 1 of 2


                           IN THE UNITED STATES COURT OF APPEALS

                                     FOR THE ELEVENTH CIRCUIT

                                       _________________________

                                            No. 20-10249-RR
                                       _________________________

In Re: Equifax, Inc., Customer Data Security Breach Litigation

-------------------------------------------------
SHIYANG HUANG,
THEODORE H. FRANK,
DAVID R. WATKINS,
MIKELL WEST,
CHRISTOPHER ANDREWS,
GEORGE W. COCHRAN,
ALICE-MARIE FLOWERS,

                                             Movants - Appellants,

BRIAN F. SPECTOR,
JAMES MCGONNIGAL,
RANDOLPH JEFFERSON CARY, III,
ROBIN D. PORTER,
WILLIAM R. PORTER, et al.,

                                                                        Plaintiffs - Appellees,

                                                    versus

EQUIFAX INC.,
DOES 1 THROUGH 50, INCLUSIVE,
EQUIFAX INFORMATION SERVICES LLC,
a foreign limited liability company,
EQUIFAX INFORMATION SOLUTIONS, LLC,
DOES 1 THROUGH 10, et al.,

                                                                        Defendants - Appellees.

                                       __________________________

                                     On Appeal from the United States
                            District Court for the Northern District of Georgia
                                     __________________________
      Case 1:17-md-02800-TWT Document 1090-1 Filed 05/07/20 Page 3 of 3
              Case: 20-10249 Date Filed: 05/07/2020 Page: 2 of 2



BEFORE: WILLIAM PRYOR, ROSENBAUM, and LAGOA, Circuit Judges.

BY THE COURT:

       Before the Court is the “Motion of Plaintiffs-Appellees for Consolidation and to Expedite

Appeals.”

       To the extent that the motion seeks to consolidate the appeals, the motion is DENIED AS

MOOT. The relevant notices of appeal already are proceeding under appeal no. 20-10249-RR and

will proceed on the same schedule.

       To the extent the motion seeks to expedite the briefing in this appeal, this appeal is not yet

ready for briefing because Appellant Christopher Andrews’ motion for leave to proceed in forma

pauperis on appeal is still pending in the district court. See 11th Cir. R. 31-1(b). The motion to

expedite briefing is therefore DENIED WITHOUT PREJUDICE to refiling such a motion after

Appellant Christopher Andrews’ motion for leave to proceed in forma pauperis on appeal is

resolved. The district court is requested to expedite consideration of this motion.

       Appellants Theodore H. Frank and David R. Watkins’ “Cross-Motion for Sanctions” is

DENIED.

       Appellants Theodore H. Frank and David R. Watkins’ “Motion for Relief under Fed. R.

App. Proc. 10(e)(2)(C)” is DENIED.




                                                 2
